               Case 1:22-cv-00983 Document 2 Filed 04/09/22 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 STABIL LLC,
 RUBENOR LLC,
 RUSTEL LLC,
 NOVEL-ESTATE LLC,
 PII KIROVOGRAD-NAFTA LLC,                                   Case No. _________
 CRIMEA-PETROL LLC,
 PIRSAN LLC,
 TRADE-TRUST LLC,
 ELEFTERIA LLC,
 VKF SATEK LLC,
 STEMV GROUP LLC,

                                 Petitioners,

                            v.

 THE RUSSIAN FEDERATION,

                                 Respondent.


                                 DECLARATION OF JAMES H. BOYKIN

 JAMES H. BOYKIN declares:

       1.        I am a member of the bar of this Court and of the law firm of Hughes Hubbard &

Reed LLP, counsel for petitioners Stabil LLC, Rubenor LLC, Rustel LLC, Novel-Estate LLC, PII

Kirovograd-Nafta LLC, Crimea-Petrol LLC, Pirsan LLC, Trade-Trust LLC, Elefteria LLC, VKF

Satek LLC and Stemv Group LLC (collectively, “Petitioners”) in the arbitration proceedings

captioned Stabil LLC et al. v. The Russian Federation, PCA Case No. 2015-35 (the “Arbitration”).

I was counsel for Petitioners at all stages of the Arbitration, including both the jurisdictional and

merits phases. I respectfully submit this declaration in support of Petitioners’ Petition to Confirm

Arbitration Award.




                                                  1
               Case 1:22-cv-00983 Document 2 Filed 04/09/22 Page 2 of 5




       Attachments to this Declaration

       2.        Attached hereto as Exhibit A is a true and correct copy of the Award on the Merits

in the Arbitration, made in Switzerland and issued by the Permanent Court of Arbitration at The

Hague on April 12, 2019.

       3.        Attached hereto as Exhibit B is a true and correct copy of the Agreement between

the Cabinet of Ministers of Ukraine and the Government of the Russian Federation on the

Encouragement and Mutual Protection of Investments of November 27, 1998 (the “Treaty”),

containing the Respondent’s standing offer to arbitrate. Exhibit B consists of the Treaty in its

original Ukrainian (one of its authentic languages) together with a certified translation into English.

       4.        Attached hereto as Exhibit C is a true and correct copy of the Notice of Arbitration

served on the Russian Federation by the Petitioners on June 3, 2015, in which the Petitioners

accepted the Russian Federation’s offer to arbitrate.

       5.        Attached hereto as Exhibit D is a true and correct copy of the Award on Jurisdiction

in the Arbitration, made in Switzerland and issued by the Permanent Court of Arbitration at The

Hague on June 26, 2017.

       6.        Attached hereto as Exhibit E is a true and correct copy of the decision of the Swiss

Federal Supreme Court, which was issued on November 15, 2018, and which provides the Court’s

reasoning for the decision made at a public hearing held on October 16, 2018, upholding the

Tribunal’s Award on Jurisdiction.

       7.        Attached hereto as Exhibit F is a true and correct copy of the decision of the Swiss

Federal Supreme Court, dated December 12, 2019, upholding the Tribunal’s Award on the merits.




                                                   2
               Case 1:22-cv-00983 Document 2 Filed 04/09/22 Page 3 of 5




       8.        Attached hereto as Exhibit G is a true and correct copy of the letters dated October

15, 2014 and October 31, 2014, providing notice to the Russian Federation of the Existence of a

Dispute under Article 9 of the Treaty.

       9.        Attached hereto as Exhibit H are two articles from the Global Arbitration Review

discussing Professor Gabrielle Kaufmann-Kohler, the curriculum vitae of Professor Brigitte Stern,

and a profile of Mr. Daniel Price from the Transnational Dispute Management Journal.

       Swiss Court Procedures for Addressing International Arbitration Awards

       10.       In my professional experience, I have become familiar with the provisions of Swiss

law that apply to petitions to the Swiss Federal Supreme Court (the “FSC”) to set aside or annul an

arbitration award, specifically Chapter Twelve of the Swiss Private International Law Act (the

“PILA”) and Articles 58 and 77 of the Swiss Federal Supreme Court Act. I gained this knowledge

from my experience assisting Swiss counsel with the defense of two international arbitration awards

against two annulment actions brought by the Russian Federation before the FSC.

       11.       From my experience, I learned that Swiss law, specifically Article 77 of the Swiss

Federal Supreme Court Act, sets a deadline of thirty days for making an application to the FSC to

set aside or annul an arbitration award. (As of January 1, 2021, that thirty-day limitations period

was copied from Article 77 of the Swiss Federal Supreme Court Act to Article 190(4) of the PILA.)

Typically, a party may upon request obtain one extension of that deadline.

       12.       Through my experience in Switzerland, I also learned that, while most cases before

the FSC are decided based only on written submissions, Article 58(1) of the Swiss Federal Supreme

Court Act provides for something the Swiss call “public oral deliberations,” among the judges of the

FSC if the presiding judge orders it, if the judges are not unanimous, or if one of the five-judge

divisions requests it. The FSC held public oral deliberations on the Russian Federation’s application


                                                  3
                Case 1:22-cv-00983 Document 2 Filed 04/09/22 Page 4 of 5




to set aside the Award on October 16, 2018. It was only the second occasion since 1989 on which

the court held public oral deliberations in connection with an application to annul an international

arbitration award.

       13.       Public oral deliberations pursuant to Article 58(1) of the Swiss Federal Supreme

are a unique feature of Swiss law for which there is no ready analogy in United States procedure. I

was involved in the defense of the Award against the Russian Federation before the Swiss Federal

Supreme Court. I attended the public oral deliberations and am familiar with the process. Because

there is no ready analogy in United States practice to the FSC’s public oral deliberations, I thought

it might be helpful to describe public oral deliberations before the Swiss Federal Supreme Court.

       14.       In a case in which the FSC decides to hold public oral deliberations, the five judges

of the Court division to which the case was assigned (in Petitioner’s case, the Court’s First Civil

Division) will deliberate in open court, but they will not hear argument from the parties. The parties

and their lawyers may attend, but they are not given any opportunity to speak or otherwise address

the FSC. Custom requires that the lawyers for the parties in attendance dress all in black. No

transcript of such oral deliberations is made. Each judge then casts a vote and cannot abstain. The

FSC reaches its decision by a majority vote and will inform the parties immediately thereafter of the

operative part of its collective decision.

       15.       After the public oral deliberations and the announcement of its decisions, the FSC

issues one reasoned written decision, which is the decision of the entire Court and does not include

any of the divergent views that some of the judges might have expressed during the public

deliberation. In fact, in the written reasoned decision, any judge who did not vote with the majority

may not criticize the decision of the majority. Dissenting opinions do not exist in Swiss judicial

practice. To the extent that one of the five judges may have expressed disagreement with her


                                                   4
               Case 1:22-cv-00983 Document 2 Filed 04/09/22 Page 5 of 5




colleagues during the oral public deliberations, such statements will not be recorded or otherwise

reflected in the FSC’s final decision. Private notes summarizing views expressed by judges during

public deliberations have no judicial value and cannot be relied upon as legal authorities.



         I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

         Executed on April 9, 2022 in Washington, D.C., United States of America.




                                                                       /s/James H. Boykin____
                                                                       JAMES H. BOYKIN




                                                   5
